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                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                            )
LEONARD LOGAN,                              )
                                            )
       Petitioner,                          )      Case No. 12-CV-6170
                                            )
              vs.                           )
                                            )
NEDRA CHANDLER,                             )
                                            )      The Honorable Matthew Kennelly
       Respondent.                          )

                                           ORDER

This matter having come before the Court, for good cause show, and with Respondent’s indication
that she does not oppose the Petitioner’s motion, Petitioner’s motion to voluntarily dismiss the
additional claims raised in his amended petition for a writ of habeas corpus, Docket No. 139, is
hereby granted. Petitioner’s claims identified as grounds 9, 10, and 11 in his amended petition
(Docket No. 76) are hereby dismissed. This Court consequently lifts the stay of these
proceedings.



                                                   _________________________________
                                                   The Hon. Matthew F. Kennelly
                                                   United States District Judge

Date: March 4, 2020
